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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                 )
                                                       )    Chapter 11
TRIBUNE COMPANY, et al.,                               )
                                                       )    Case No. 08-13141 (KJC)
                                        Debtors.       )    Jointly Administered
                                                       )
                                                       )    Re: Dkt. No ___


     ORDER GRANTING MOTION FOR CLARIFICATION THAT LEAVE IS NOT
         NECESSARY, OR IN THE ALTERNATIVE, LEAVE, TO SERVE
          SAMUEL ZELL’S MOTION FOR RELIEF UNDER RULE 9011

         Upon consideration of the motion (the “Motion”) of Samuel Zell (“Mr. Zell”) for

clarification that leave is not necessary, or in the alternative, leave, to serve his motion for relief

under Federal Rule of Bankruptcy Procedure 9011 against the Official Committee of Unsecured

Creditors and/or its counsel (the “Motion”); and it appearing that the Court has jurisdiction to

consider the Motion pursuant to 28 U.S.C. § 1334 and that this matter is a core matter pursuant

to 28 U.S.C. § 157(b)(2); and it appearing that due notice of the Motion has been given under the

circumstances, and that no further notice need be given for the relief sought herein; and sufficient

cause appearing therefore:

IT IS HEREBY ORDERED THAT:

         1.      The Motion is GRANTED.

         2.      Mr. Zell is hereby granted leave to serve his motion for relief under Rule 9011 on

counsel for the Committee.

         3.      Mr. Zell is authorized to take all actions necessary to effectuate the relief granted

pursuant to this Order in accordance with the Motion.




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        4.       The Court retains jurisdiction with respect to all matters arising from or related to

implementation of this Order.


Dated: _________ __, 2011

                                _________________________________________
                                HONORABLE KEVIN J. CAREY
                                CHIEF UNITED STATES BANKRUPTCY JUDGE




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